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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION

    FINANCIAL INFORMATION
    TECHNOLOGIES, LLC,

            Plaintiff,

    v.                                         CASE NO. 8:17-cv-00190-SDM-SPF

    ICONTROL SYSTEMS, USA, LLC,

            Defendant.
                                           /

                         MOTION FOR EXTENSION TO FILE RENEWED
                           MOTION FOR PERMANENT INJUNCTION

            Plaintiff Financial Information Technologies, LLC (“Plaintiff” or “Fintech”), by

    and through undersigned counsel, moves for a brief extension of time to file a

    renewed motion for permanent injunction, through and including August 21, 2020. In

    support thereof, Plaintiff states as follows:

         1. On August 10, 2020, this Court entered an Order denying Plaintiff’s Motion for

            Permanent Injunction without prejudice and allowing Plaintiff until August 17,

            2020 to file a renewed motion for permanent injunction “to identify with

            reasonable specificity the trade secrets for which Fintech demands an

            injunction.” [Dkt. No. 279].

         2. Undersigned counsel was working remotely on August 10, 2020 due to the

            COVID-19 pandemic when she received the Order, and inadvertently failed to

            ensure the August 17, 2020 deadline was calendared.
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       3. Undersigned counsel’s failure was compounded by the fact that the associate

          assigned to the case, Mr. Reiniers, recently left the firm.         In addition,

          undersigned counsel’s office likewise inadvertently failed to calendar the

          August 17, 2020 deadline, likely because the deadline was not reflected in the

          ECF docket entry.

       4. On August 11, 2020, the parties initiated settlement discussions, and

          Defendant requested Plaintiff stay execution of the judgment pending those

          discussions and pending its anticipated appeal.          Undersigned counsel

          informed Defendant’s counsel it intended to renew the motion for permanent

          injunction but ultimately agreed not to pursue collection efforts pending further

          discussion with her client.    The parties scheduled a meeting to discuss

          settlement on August 18, 2020. In doing so, because the August 17, 2020

          deadline had not been calendared, undersigned counsel did not realize that

          the settlement discussions would not occur until after the renewed motion for

          permanent injunction was due.

       5. On August 20, 2020, Defendant informed Plaintiff that it had missed the

          August 17, 2020 deadline, and, recognizing her neglect, undersigned counsel

          immediately prepared and filed this motion.

       6. Pursuant to Rule 6(b)(1)(B) of the Federal Rules of Civil Procedure, Plaintiff’s

          request for extension is supported by excusable neglect under the

          circumstances presented. In considering whether excusable neglect exists,

          Courts typically look to the following four factors: “the danger of prejudice to



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          the [nonmovant], the length of delay and its potential impact on judicial

          proceedings, the reason for the delay, including whether it was within the

          reasonable control of the movant, and whether the movant acted in good

          faith.” See Pioneer Investment Services v. Brunswick Associates Ltd.

          Partnership, 507 U.S. 380, 398 (1993).

       7. In the present case, each of these factors weighs in favor of granting

          Plaintiff’s motion for a brief extension. Defendant will not be prejudiced by

          this brief extension, as the length of delay is only from a Monday to Friday

          and follows years of litigation.         Further, the parties were engaged in

          settlement discussions, and undersigned counsel informed Defendant’s

          counsel that Plaintiff intended to renew the motion during a telephone

          conversation on August 11, 2020.          Thus, Defendant will not be “lulled or

          otherwise prejudiced by the untimely filing.” See, e.g., Cheney v. Anchor

          Glass Container Corp., 71 F.3d 848, 850 (11th Cir. 1996) (finding excusable

          neglect where the plaintiff filed a request for trial de novo six days late and the

          parties were engaged in settlement discussions and continuing discovery in

          the interim). Moreover, if the Court grants Plaintiff’s request, the renewed

          motion will be filed just eleven days after the Court’s Order denying its original

          motion without prejudice.

       8. The reason for delay and whether the movant acted in good faith also weigh

          in favor of granting the motion for extension, as undersigned counsel and her

          office failed to calendar the August 17, 2020 deadline set forth in the Order,



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          the associate assigned to the case recently left the firm, and undersigned

          counsel immediately requested this extension upon recognizing her failure to

          timely file the renewed motion.     See Walter v. Blue Cross & Blue Shield

          United of Wis., 181 F.3d 1198 (11th Cir. 1999) (finding excusable neglect

          where “the reason for the delay was the failure of a former secretary of

          [plaintiff's] attorney to record the applicable deadline”); see also Cheney, 71

          F.3d at 850 (finding excusable neglect where the “delayed filing was a failure

          in communication between the associate attorney and the lead counsel”).

       9. The request for extension should also be granted because the danger of

          prejudice to Fintech is great if the request is not granted, as the jury found at

          trial that iControl has misappropriated Fintech’s trade secrets and awarded

          Fintech $5.7 million as a result. The judgment was entered on March 5, 2020,

          and Fintech moved for a permanent injunction on the same date. [See Dkt.

          Nos. 249 and 251]. As set forth in Fintech’s Motion for Permanent Injunction,

          Fintech   has   suffered   irreparable   injury   as   a   result    of   iControl’s

          misappropriation, and its inability to file a renewed motion due to undersigned

          counsel’s neglect would result in extreme prejudice to Fintech, as iControl

          would be permitted to continue using the trade secrets which a jury found it

          had misappropriated from Fintech.

       10. Undersigned counsel sincerely apologizes to the Court for missing the August

          17, 2020 deadline and respectfully requests the Court grant Plaintiff a very

          brief extension, until August 21, 2020 to file its renewed motion.



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       11. Pursuant to Local Rule 3.01(g), undersigned counsel attempted to confer with

           Defendant’s counsel prior to filing this motion, but was unable to reach

           Defendant’s counsel by phone or email. Undersigned counsel will continue to

           attempt to confer on this motion and advise the Court of Defendant’s position.

           WHEREFORE, for the foregoing reasons, Plaintiff requests an extension

    through and including August 21, 2020 to file its renewed motion for a permanent

    injunction.


                                                   Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on August 20, 2020, I electronically filed the

    foregoing with the Court by using the CM/ECF system, which will send a notice of

    electronic filing to:

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